The following facts are alleged in the petition for a writ of mandamus filed in this court:
On September 15, 1938, there was filed with the Holmes County Board of Education, pursuant to Section 4696, General Code, a petition signed by more than seventy-five per cent of the resident electors of Washington Rural School. District in Holmes county, requesting the transfer of territory to the contiguous Loudonville Exempted Village School District situated partly in Ashland and Knox counties.
The Holmes County Board of Education prior to that date had not considered or adopted a plan of organization for 1938, pursuant to Section 7600-1 et seq., *Page 457 
General Code. Thereafter, the county board formulated a plan of organization for 1938 which provided for transferring a portion of the territory described in the transfer petition to the Loudonville Exempted Village School District and portions to two other districts. The plan of organization was transmitted to the State Director of Education, who approved the same and fixed the effective date thereof, without granting a hearing to the relators who had prior thereto sent to the Director of Education a communication protesting the approval of any plan which did not embody the content of their petition to transfer territory.
Later the Holmes County Board of Education adopted three resolutions one transferring a portion of the territory described in the transfer petition to the Loudonville Exempted Village School District and the other two resolutions transferring portions to two other special school districts.
Other facts, which are not essential to a decision, are pleaded in the mandamus petition.
The relators seek a writ to compel the county board and Director of Education to rescind and revoke the adoption and approval of the plan of organization for 1938 in so far as it pertains to the schools and territory in Washington Rural School District and to require the county board to approve and adopt the petition for transfer and to take necessary steps to transfer all the territory to the Loudonville Exempted School District.
The demurrer of the respondents to the petition for mandamus is overruled and, the respondents not desiring to plead further, a writ of mandamus is allowed, on authority ofState, ex rel. Adsmond, v. Board of Education of WilliamsCounty School District, ante, 383.
Writ allowed.
WEYGANDT, C.J., DAY, ZIMMERMAN, WILLIAMS, MYERS, MATTHIAS and HART, JJ., concur. *Page 458 